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13   Attorneys for Defendant
     Experian Information
14   Solutions, Inc.
15

16
                        UNITED STATES DISTRICT COURT
17                 FOR THE EASTERN DISTRICT OF CALIFORNIA
                              Sacramento Division
18

19
                                          Case No.: 2:17-cv-2402-JAM-CKD
20
         ADAM ALESSI,
21                                        The Hon. John A. Mendez
         Against
22                                        JOINT STIPULATION OF
                                          DISMISSAL WITH PREJUDICE
23       EQUIFAX INFORMATION              AS TO DEFENDANT EXPERIAN
         SERVICES, LLC,                   INFORMATION SOLUTIONS, INC.
24
         EXPERIAN INFORMATION
25       SOLUTIONS, INC,
         HERBERT P. SEARS, CO.,
26
         INC.
27       d/b/a HP SEARS
     .
28
                                                                    Joint Stipulation of
                                                              Dismissal With Prejudice
                                                     Case No. 2:17-cv-2402-JAM-CKD
     Case 2:17-cv-02402-JAM-CKD Document 22 Filed 10/24/18 Page 2 of 2


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 4
           IT IS HEREBY STIPULATED by and between Plaintiff Adam Alessi
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 6   (“Plaintiff”) and Experian Information Solutions, Inc. (“Defendant”), by and
 7
     through their respective counsel of record, that the above-captioned action,
 8
     including all claims alleged therein, be and hereby is dismissed with prejudice in
 9

10   accordance with the Federal Rules of Civil Procedure Rule 41(a)(1)(A)(ii), as and
11
     to Defendant Experian Information Solutions, Inc. with the parties to bear their own
12

13
     fees and costs.

14         Undersigned counsel represent that they are fully authorized by their
15
     respective clients to enter into this Joint Stipulation with Prejudice
16

17
     DATED: October 17, 2018                         Stein Saks, PLLC
                                             By:    /s/Rachel Drake
18                                                  Rachel Drake
19                                                  Attorneys for Plaintiff
                                                    Adam Alessi
20

21
     DATED: October 17, 2018                      Jones Day
22                                           By: /s/ Katherine A. Neben
23                                               Katherine A. Neben
                                                 Attorneys for Defendant
24                                               Experian Information
25   .                                           Solutions, Inc.
26

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                                                                            Joint Stipulation of
                                                                      Dismissal With Prejudice
                                                             Case No. 2:17-cv-2402-JAM-CKD
